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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


IN RE:                                           )   CHAPTER 7
                                                 )
Christopher Rogus                                )   CASE NO. 23-00754
                                                 )
                                                 )   HONORABLE Janet S. Baer
                                                 )
                                                 )   Date: Friday September 8, 2023
                    Debtor.                      )   Time: 11:00 a.m.
                                                 )

                                    NOTICE OF MOTION
TO: See attached list

        PLEASE TAKE NOTICE that on Friday September 8, 2023 at 11:00 a.m., I will appear
before the Honorable Janet S. Baer, or any judge or any judge sitting in that judge’s place, either
in Courtroom 615 of the Everett McKinley Dirksen United States Courthouse, at 219 South
Dearborn Street, Chicago, IL 60604 or electronically as described below and present the
Application of Trustee For Authority To Employ Special Counsel, a copy of which is attached.

      IMPORTANT: Only parties and their counsel may appear for presentment of the
motion electronically using Zoom for Government. All others must appear in person.

       To appear by Zoom using the internet, use this link: https://zoomgov.com/. Then enter
the meeting and ID password. To appear by Zoom using telephone, call Zoom for Government
at 1-669-254-5252 or 1-646-828-7666. Then enter the meeting ID and password.

        Meeting ID and password. The meeting ID for this hearing is 160 731 2971 and the
password is 587656. This meeting ID and password can also be found on the judge’s page on the
court’s web site.

        If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before the date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of
objection is timely filed, the court may grant the motion in advance without a hearing.

                                                     /s/ Frank J. Kokoszka
KOKOSZKA & JANCZUR, P.C.
19 South LaSalle Street, Suite 1201
Chicago, IL 60603
(312) 443-9600 phone
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                                 CERTIFICATE OF SERVICE


       I, Frank J. Kokoszka, an attorney, certify that I served a copy of this notice and the
attached motion on each entity shown on the attached list at the address shown and by the
method indicated on the list on September 1, 2023, before 5:00 p.m.

                                                      /s/ Frank J. Kokoszka
                                                      Frank J. Kokoszka
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                                         SERVICE LIST

Via ECF Electronic Notice

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Frank J Kokoszka
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CEP AMERICA ILLINOIS LLP
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Discover Bank
Discover Products Inc
PO Box 3025
New Albany, OH 43054-3025
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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


IN RE:                                        )       CHAPTER 7
                                              )       CASE NO. 23-00754
Christopher Rogus,                            )
                                              )       HONORABLE Janet S. Baer
                                              )
                                              )       Date: Friday, September 8. 2023
                         Debtor.              )       Time: 11:00 a.m.
                                              )       Appear by Zoom or Room 615

                        APPLICATION OF TRUSTEE FOR AUTHORITY
                             TO EMPLOY SPECIAL COUNSEL

         Pursuant to 11 U.S.C. §§ 327 and 328 and Fed. R. Bankr. P. 2014, Frank J. Kokoszka, as

chapter 7 trustee (the “Trustee”) for the bankruptcy estate of Christopher Rogus (“Debtor”),

hereby applies to this Honorable Court for authority to employ Kevin S. Besetzny and Besetzny

Law (“KSB”) as Special Counsel in connection with the Debtor’s chapter 7 case (the “Case”). In

support thereof, the Trustee attaches the Declaration of Kevin S. Besetzny as Exhibit A hereto

and the Proposed Engagement Agreement as Exhibit B hereto, and respectfully states as follows:

                                         BACKGROUND

      1.        This Court has jurisdiction over this motion pursuant to 28 U.S.C. §§ 157 and

1334, and Internal Operating Procedure 15(a) of the United States District Court for the Northern

District of Illinois.

      2.     Venue of the Case and of this motion is proper in this Judicial District pursuant to 28

U.S.C. §§ 1408 and 1409. This matter is a core proceeding within the meaning of 28 U.S.C. §§

157(b)(1) and (b)(2)(A) and (O).
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      3.     This Case was commenced by Debtor’s filing of a Voluntary Petition for Relief under

Chapter 7 of the United States Bankruptcy Code on January 12, 2023 (the “Petition Date”).

Frank J. Kokoszka was the duly appointed and serving chapter 7 trustee herein (the “Trustee”).

      4.     The Trustee filed a No Asset or No Distribution Report (“NDR”) and the case was

closed on April 28, 2023.

      5.     Subsequent thereto, the Trustee was informed that the Debtor was entitled to a

surplus resulting from the mortgage foreclosure on his home residence (the “Surplus”). On July

18, 2023, the Office of the US Trustee filed a Motion to Reopen Chapter 7 Case (the “Motion to

Reopen”).

      6.     On July 28, 2023, this Court entered an Order granting the UST’s Motion to Reopen

and Frank J. Kokoszka was appointed as the Trustee herein.

            NEED FOR SPECIAL COUNSEL AND STANDARDS FOR ENGAGEMENT

      7.        The Trustee requires Counsel to appear in the State Court Case and represent the

Estate’s interest as to the Surplus.

      8.        After investigation, the Trustee has determined that he wishes to employ Kevin S.

Besetzny and Besetzny Law as his Special Counsel in this matter.

      9.        Section 327(e) provides that the trustee may, subject to court approval, employ

attorneys for a special purpose if it is in the best interest of the estate and the attorney does not

have an interest adverse to the estate with respect to the matter for which employment is sought.

      10.       Section 327(c) then provides that an attorney is not disqualified from representing

the trustee merely because the attorney also represents a creditor. Instead such representation

should be approved unless there is an actual—as opposed to a potential—conflict of interest. The

“part of § 327(a) which reads that attorneys for the trustee may ‘not hold or represent an interest
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adverse to the estate’ … mean[s] that the attorney must not represent an adverse interest relating

to the services which are to be performed by that attorney.” In re AroChem Corp., 176 F.3d at

622.    “Thus, where the interest of the special counsel and the interest of the estate are identical

with respect to the matter for which special counsel is retained, there is no conflict and the

representation can stand.” Id.

       11.      The Trustee asserts that neither Kevin S. Besetzny nor Besetzny Law represent or

hold any interest adverse to the Debtor or to the Estate with respect to the matter on which they

are being sought to be employed. The employment of KSB shall be limited to the Surplus and the

State Court Litigation.

       12.      As stated in the Declaration of Kevin S. Besetzny, KSB does not have any

material interest adverse to the interest of the Estate.

       13.      KSB meet the standard of being “disinterested persons” as defined in § 101(14).

                                      TERMS OF ENGAGEMENT

       14.      The Trustee requests that this Court approve the retention of KSB in relation to

the Account Receivable. The Trustee proposes to compensate KSB at          an    hourly    rate    of

$325/hour capped at 10% of the amount recovered, plus reasonable necessary expenses. See,

Exhibit B hereto. The Trustee submits that this fee arrangement is fair to the Estate and in the

Estate’s best interest. KSB understand that their compensation is subject to further Court order

                                         PRAYER FOR RELIEF

        WHEREFORE, the Trustee request that this Court enter an order, pursuant to 11 U.S.C.

§§ 327 and 328 and Fed. R. Bankr. P. 2015, authorizing the Trustee to employ Kevin S.

Besetzny and BESETZNY LAW as Special Counsel to perform the professional services set

forth in this Application and, granting such other relief as this Court deems proper and just.
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                                             Respectfully submitted,
                                             Frank J. Kokoszka, Chapter 7 Trustee


Dated: September 1, 2023                     By:/s/ Frank J. Kokoszka


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